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                     U N ITED STATES D ISTR IC T C O U RT FO R TH E
                           SO U TH ER N DISTR IC T O F FL O R ID A


                                                                      FILED BY      '         D.C .
                                                   Case No.
      JAM ESBUCKMAN and                                    -               02T 12 2218
     M AURICE SYM O NETTE
                                                                           ctkklkll'lîpAi
                                                                                        tMI
                                                                                         z
                                                                           SrD,0:FLA..MI
                            Plaintiff,             COM PLAINT FOR:
    V Sx
                                                      QUIET TITLE

    LANCASTER M O RTGAGE CO.;O NE                      SLA NDER OF TITLE
    W EST BANK,EM C M ORTGAGE
    BAN KERS LLC M O RTGAGE                        3. BA NK VIO LATED 30 DAY NOTICE TO
    ELECTRONIC REGISTM TIO N SYSTEM ,                 SA LE NOTE IN VIO LATIO N OF FLO RIDA
    A KA ''M ERS''DEUTSCH E BA NK                     STAT.559.715
    NATIONAL TRUST CO .AS TRUSTEE                  4. U N JU ST EN RIC H M EN T
    UND ER THE POO LING AND SERVICING
    A GREEM ENT SERIES M ST 2006-48                5. V IO LA TIO N O F R ESPA 12 U .S.C 2605
    A ND DEUTSCH E BANK NA TIONAL
    TRUST COM PA NY,AS TRUSTEE OF                  6. V IO LA TIO N FL.STA T.697.10 N O
    TH E RESIDENTIAL ASSET                             C O N TM C T
    SECURITIZATIO N TRUST 2006-A8 ,                7. FR AU D & C O N CEA LM EN T
    M ORTGA GE PASS-TH ROUGH
    CERTIFICATES,SERIES 2006-H UND ER              8. VIO LAT ON O F FL O R ID A STA T .
    THE PO OLING AND SERVICIN G                        45.031(8)A PRICE SO LOW IT
    AGREEM ENT,SECU RITY AND                           SH O C K S TH E CO N SC IE NC E
    EX CHA NGE COM M ISSIO N A ND TH E
    U.S.TREASURY,BLANK ROM E LLC                   9. V IO LA TIO N O F TIM ELY
                                                      A SSIG N M EN T
                     Defendants.
                                                   10.BAN K N O C O N SID EM TIO N M O N EY
                                                      M U ST BE G IV EN TO A SSIG N N O T

                                               '

                     (/J J'
                          F
                          A Z:
                             /Z/
                               A X z/JAzzz:'y4s*x'e-Dsv'
                                    -                  rsc#84*W%-'
                     ' zee4, gep
                     f;a .1-/.*,,,2 a'
                                     zi//kzz 'wCZ K .- r/sy#w
                     (.# s F- - g//r ;-.a.z'zl r. zl-v




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       M OTION FOR INIUCTION FEDEM L RULE 65 AND 73,TO STOP UNLAW FUL CRIM INAL
       EVICTION BY DEUTSCHE BA NK N .A D EUTSCHE BAN K CO M M ITED FM UD BY
       CREA TING A FAKE M ORTGAGE AN D PROM ISSORY NO TE TO STEAL PROPERTY
       THAT INEVER SOLD OR SIGNED FOR!                 W ITH DISCOVERED EVIDENCE.OF FRAIJD.
       FEDEM LRULE 60 (B) (2)(41(6)AND Fla.R.ofCiv.Proc.1540 (b)(2)STANDING A
       THEIVERY CAN BE QUESTIONED ATANYTIMEFEDERALRULE 3.1


      QUIET TITLE VERIFIED PETITION FOR DECLAM TORY RELIEF AND IUDGM ENT
        AND INJUNCTIVE RELIEFAGAINST DEFENDANT DEUTSCHEBANK N.A.TRUST
    TO QUIET TITLEPURSIJANT TO FLORIDA STATUTESCHAPTER 65:AND MOTION FOR
          TEM POM RY RESTM INING ORD ER AND M EM ORANDUM O F PO INTS AND
                              A UTH ORITIES IN SUPPORT TH EREOF




     COMESN0W thePlaintiff,(''MAURICESYMONETTE''),PLAINTIFFMAURICESYMONETTE
     AND PLAINTIFF JAMES BUCKM AN.
      (''plaintiff'),complainingoftheDefendantsasnamedabove,andeachofthem,asfollows
                                          PARTIES:

          1.PlaintiffM AURICE SYM ONETTE is now ,and atalltim es relevantto this action,a
   residentofthe County ofDADE,State ofFLORIDA.
          1A.PlaintiffJam esBuckman isnow andatalltimesrelavanttothisactionaresident
           ofDadeCounty and a holderoftitle to thissaid property.
          2.Defendant,LANCASTER M ortgage Bank LLC now know n as LA NCASTER M ortgage
    Co.located at1794 Oregon PIKE LANCASTERP.A.17601,isdoingbusinessintheCounty ofDADE,
    StateofFLORIDA.PlaintiffJAMESBUCKMAN isfurtherinformed and believes,andthereon alleges,that
    LANCASTER M ortgage Bank LLC istheOriginatorofthe loan.TheSecuritiesand Exchange Com m ission
    Located at801 BrickellAve # 1800.M iam iFL,33131,THE U.S.TREASURY located at1500
    Pennsylvania AVe.,N.W .W ashington,D.C.20220 and Blank Rom eLLC which islocated at500 E.
    Brow ard Blvd Suite 2100 Ft.Laud Fl.33394 are also Defendantsin thiscase.


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        3.Defendant,DeutscheBank NationalTrustCompany (hereafter''DeutscheBank''),as
  TrusteeforsecuritizedtrustLANCASTER MortgageBank LLC.PlaintiffJAMESBUCKMAN is
  inform ed and believethereon allegethat,DefendantDeutsche Bank,isa nationalbanking
  association Located at1761 E.St.AndrewsPlace,SantaAna,CA 92705,doingbusinessin the
  County ofDADE,State ofFLORIDA and isthe purported M asterServicerforSecuritized Trust
  and/orpurportedparticipantintheimperfectsecuritizationoftheNoteand/ortheDeed of
  Trustas m ore particularly described in thisCom plaint.


         4.Defendant,LANCASTER MortgageBankLLC.PlaintiffJAMESBUCKMAN is
  inform ed and believe,and thereon allege that,Defendant LAN CASTER M ortgage BankLl,c
  isacorporation,doingbusinessin the County ofDADE,State ofFLORIDA and isthe purported
  SponsorforSecuritizationTrustand/orapurportedparticipantintheimperfectsecuritization
  oftheNoteand/ortheDeed ofTrustasmoreparticularlydescribedin thiscomplaint.

         5.Defendant,LANCASTER MortgageBankLLC PlaintiffJAMESBUCKMAN isinformed
  andbelieve,andthereonallegethat,DefendantL/NCASTER MortgageBankLLC,isa
  corporation,doing business in the County ofDADE,State ofFLORIDA and is the purported
  SponsorforSecuritizedTrustand/orpurportedparticipantintheimperfectsecuritizationof
  Noteand/ortheDeed ofTrustasmoreparticularlydescribedinthisComplaint.

   6.Defendant,LANCASTERMortgageBank LLC.PlaintiffJAMESBUCKMAN isinform edand
   believe,and thereon allegethat,DefendantLANCASTER M ortgage Bank LLC,isa corporation,
   doingbusinessin the County ofDADE,StateofFLORIDA and isthe purported MasterServicer
   forSecuritizedTrustand/orapurportedparticipantintheimperfectsecuritization oftheNote
   and/ortheDeedofTrustasmoreparticularlyYscribedinthisComplaint.
            7.Defendant,M ORTGAGE ELECTRONIC REGISTM TION SYSTEM S,INC.,aka
       MERS(''MERS''),PlaintiffJAMESBUCKM,AN isinformedandbelieve,andthereon
       allege,thatM ERS isa corporation duly organized and existing underthe law s of
       BROW ARD,W hoselastknow n addressis1818 LibraryStreet,Suite 300,Reston,
       Virginia201909website:http://www.mersinc.org.MERSisdoingbusinessinthe
       CountyofBROW ARD,StateofFLORIDA PlaintiffJAMESBUCKMAN isfurther
                                                3
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       inform ed and believe and thereon allege,thatDefendantM ERS isthepurported
       BeneficiaryundertheDeed ofTrustand/orisapurportedparticipantinthe
       imperfectsecuritization oftheNoteand/ortheDeedofTrust,asmoreparticularly
       described in thisCom plaint.


             8.Atalltimesrelevanttothisaction,PlaintiffJAMESBUCKMAN hasowned
       thePropertylocatedat1977NE 119th RD MIAMIFL.33181 (theffproperty'').

             9.PlaintiffJAMESBUCKMAN doesnotknow thetruenames,capacities,or
       basis for liability ofDefendants sued herein as Does 1 through 100,inclusive,as each
       fictitiously named Defendantisinsomemannerliableto PlaintiffJAMESBUCKAM is
       inform ed and believe,and thereforeallege,thatata1lrelevanttim esm entioned in
       this Com plaint,each ofthe fictitiously nam ed Defendantsare responsible in som e
       m annerfortheinjuriesand damagestoPlaintiffJAMESBUCKMAN soallegedand
       thatsuchinjuriesanddamageswereproximately causedbysuch Defendants,and
       each ofthem .


              10.PlaintiffJAMESBUCKMAN isinformedandbelieve,andthereonallege,
       thatatalltim esherein m entioned,each ofthe Defendants w ere the agents,
       employees,servantand/orthejoint-venturesoftheremainingDefendants,and each
       ofthem ,and in doing the things alleged herein below ,w ere acting w ithin the course
       and scopeofsuchagency,employmentand/orjointventure.
                                 JURISDICTION
              11.Thetransactionsandeventswhich arethesubjectmatterofthis
       Com plaintalloccurred w ithin the County ofDADE,State ofFLORIDA.


              12.The Property is located w ithin the County of DADE,State of FLORIDA

       w ith and addressof1977 NE 119th RD M IAM IFL.33181.M auriceSym onettelam a

       citizen ofofthestateofTexasDefendants/RespondentsarecitizensoftheStatesof
       New York and Florida. There is com plete diversity of citizenship betw een

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       Plaintiff/petitionerandDefendants/Respondents.
                                               9.

              Petitioners seek to quiettitle to Petitioners'property.The am ountin

       controversy exceeds$75,000.00.
                                               10.

             This is an in rem proceeding pursuant to Florida Statutes Chapter 65 and

       FederalLaw,directed against Petitioners'property situated within the boundaries

       ofM iam i-Dade County. By virtue ofa N ote and M ortgage dated OCTOBER 20.2005

       and filed for record NOVEM BER 16,2005,recorded in Book 23966 PAGE 3465 of

       the Public Records of M iam i-Dade County,Florida,Leroy W illiam s purchased the

       subjectproperty and gave a Note and Mortgage in favor ofLancaster Mortgage
       Banking,a MassachusettsCorporation.Allegedly ln favorofLancasterBank theNote

       w as assigned on the contractto M ERS on the sam e day ofClosing illegally w ithouta

       30 day notice or any notice to buyer They assigned the note to Mers October 20,

       2005,Attachedheretoand madeaparthereofasPlaintiff/petitioner'sExhibitf'C''is
       a conv of the subiect assignm ent and note..Neither the Note nor either of the

       assignmentlistDefendant/RespondentDeutscheBankNationalTrustasapartyand
       the Mortgage does notlist M ERS as Nom inee and no w here on the Note is M ers

       found DefendantDeutsche Bank NationalTrustw asassigned the Noteby M ersW ho

       never had an assignm ent and w as not acting as nom inee for lancaster so Deutch

       bank forclosed withoutany withstanding.Plaintiff/petitioner challenges the legal
       standingofDefendants/Respondentsto forecloseon the subjectproperty orto sell
       the property ata foreclosure sale.



             Notwithstanding that Deutsche Bank w as notlisted as a parton either the
                                            5
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       Note,allonges orMortgage and had no legalstanding to collectthenoteorforeclose

       themortgage,Defendant/RespondentDeutscheBankinitiated aforeclosureagainst
       the subject property and obtained a FinalJudgmentofForeclosure on or about
       Decem ber 5,2013.Attached hereto and made a parthereofisa certified copy ofthe

       FinalJudgm entofForeclosureasPlaintiff/petitioner's
                                               12.




       com posite ExhibitA. A certificate ofTitle w as issued to Deutshe bank NationalTrust

       on March 5,2013. SeePlaintiff/petitioner'scompositeExhibitA.Subsepuently.the




             Rightfultitlein andtothesubjectpropertyisinPlaintiff/petitionerJAMES
       BUCKMAN Althoughordinarily Plaintiff/petitionerwouldtakethepropertysubject
       toanyvalidfirstmortgage,asDefendants/Respondentshaveandhadnolegal
       standing to collectthe note orto foreclose the m ortgage,any such foreclosure w as

       and isw rongful.

       NotwithstandingPlaintiff/petitionerJAMESBUCKMAN purchaseofthe
        subjectproperty,Defendant/RespondentDeutscheBankNationalTrustCompany,as
        TrusteeforSoundview Hom e Loan Trust2005-0PT4 Asset-Backed Certificatesthreatens
        toEvictPlaintiff/petitioner'spropertyafteraforeclosuresale,although saidDefendant/
       Respondenthasneverproduced anyvalid orrecorded assignm ent,orothertransfer

       documentorotherproofthatitownsandholdsthemortgageonthesubjectproperty.
                                               6
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                                       15



             Plaintiff/petitionerchallengesthelegalstandingofDefendants/
       Respondentstocollectthesubjectnoteorforeclosethesubjectmortgage.Standing
       isjurisdictional,isnotwaivedbyPlaintiff/petitioner,andcan beraisedatanytime
       Federalrulesofprocedure3.1.Plaintiff/petitionermovesforaPreliminary
       Injunction/rremporaryRestrainingOrdertorestrain andenjointhesaleand
       eviction ofthepropertybyDefendants/RespondentsonFebruary 19,2014 pending
       resolutionofPlaintiff/petitioner'sQuietTitleclaim,asmorefullysetforth in
       Plaintiff/petitioner'smotion setforthhereinbelow

                                INT ROD U CTIO N

       13,ThisisanactionbroughtbyPlaintifffordeclaratoryjudgment,injunctiveand
         equitable relief,and forcom pensatory,special,generaland punitivedam ages.

       14.Because M ERSnevergota LegalAssignm entfrom LancasterBank becausethere

       15.w as no Leroy W illiam 'sM ortgage Note thatexhisted.So M ERS did notAssign the

       16.M ortgage Note to Deustch Bank.W hich show s thatthis EVICTION is ILLEGAL THEFT

       17.0F THIS PROPERTY,we actually have no rightsto ow n property.here'sm ore proof.

             13. Plaintiff,hom eow ner,disputesthe title and ownership ofthereal
                 property inquestion (the''Home''),which isthesubjectofthisaction,in
       thatthe originating m ortgage lender,and othersalleged to haveow nership of
       Plaintiff'smortgagenoteand/orDeedofTrust,haveunlawfullysold,assigned
       and/ortransferredtheirownership and securityinterestinPromissoryNoteand
       Deed ofTrustrelated to the Property,and,thus,do nothave a law fulow nership ora
       security interestin PlaintiffsHom ewhich isdescribed in detailherein Forfraud,
       internationalinfliction ofem otionaldistress,rescission,declaratory reliefbased,
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       andviolationsofT.I.L.A.and R.E.S.P.A.,uponthefactsand circum stances
       surrounding Plaintiff'soriginalloan by Leroyw illiam sthatwasquitclaim ed to
       JAMESBUCKMAN theExhibit D1transactionandsubsequentsecuritization.
       Defendant'sviolationsoftheselawsareadditionalreasonsthisCourtshould quiet
       titleinPlaintiffsproperty andaward damages,rescission,declaratoryjudgment,
       andinjunctivereliefasrequestedbelow.

              16.From 1998 untilthe financialcrash of2008-2009,over 60 m illion hom e
       loansw here sold by originating lenderbanksto investm entbanksto besecuritized
       in a complex seriesofbillionsoftransactions.ThePlaintiffshom eloan wasone of
       the 60 m illion notesthatw ere securitized.


              17.Securitization istheprocesswhereby m ortgage loansareturnedinto
       securities,orbonds,and soldto investorsby W allStreetand otherfirm s.The
       purpose is to provide a large supply ofm oney to lenders for originatingloans,
       and to provide investm entsto bond holders w hich w ere expected to be relatively
       safe.Theprocedureforselling oftheloansw asto createa situation whereby certain
       taxlawsknownastheRealEstateMortgagelnvestm entConduit(hereinafter
       ''REMIC'')Actwereobserved,andwherebytheIssuingEntitiesandtheLenders
       w ould beprotected from eitherentity going into bankruptcy.ln orderto achievethe
       desired ''bankruptcy rem otenessz''num erous''trueSales''ofthe loanshad to occur,in
       w hich loanswere sold andtransferred to thedifferentpartiesto theSecuritization.


              18.A 'TrueSale''oftheloan w ould bea circum stancew hereby oneparty
       ow ned theNoteand then sold itto anotherparty.An offerwould bem ade,accepted
       and com pensation given to the 'seller''in return forthe Note.The Noteswould be
       transferred,and the DeedsofTrustassigned to thebuyersoftheNote,w ith an
       Assignm entm adeevery step ofthew ay ,and ,furtherm ore,each Notew ould be
       endorsed tothe nextparty by the previousassignee ofrecord.


              19.Each REM IC Trustcreated by theinvestm entbanks,usually underNew
       York Law,w ould befunded w ith thousandsto tens-of-thousandsofm ortgage notes.
                                                8
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       ln orderto m aintain theirbankruptcy-protected status,REM IC'S had to haveclosing
       datesby which every m ortgage notethatw astobe sold to theREMIC had to be
       owned by the REM IC.Oncethe REM IC closed,itcould acceptno m orem ortgage
       notesunderthe term sofREM IC law ,and itwould begin selling securitiesbacked by
       paym entsfrom hom eow nerson the notesit''ow ned''.


              20.How aparticularm ortgageloan ended up beingtransferred to REM IC in
       the securitizations processisgoverned by a contractknow n as a pooling and
       ServicingAgreement(''PSA''),ThePSA isaTrustAgreementrequiredtobefiled
       underpenaltyofperjurywiththeUnitedstatesSecuritiesandExchangeCommission
       (''SEC'')andwhich,alongwithanotherdocum ent,theMortgageLoanPurchase
       Agreement(''MLPA''),istheoperativesecuritizationdocumentcreated bythe
       finance and securitization industry to m em orialize securitizationstransactions.

                 21.W hen the Plaintiffin this case closed on herproperty,her originallender
        (orotherentityclaim ingownership ofthenote)signedaPSA thatgoverned
        plaintiff'sparticularm ortgagenote.The PSA agreem ent,asdescribed in m oredetail
        below,detailed the closing datebyw hich the hom eowner'sloan mustbe''sold''to
        the REM IC,and describe exactly how the hom eow ner's note is to find it's w ay from
        theoriginallendertothe REM ICtrust.

                 22.A typicalPSA callsfora hom eow ner'snotetobe transferred atleastfour
        tim es to differentkey parties before itcom es into possession ofthe REM IC trustee.
        Here is a chart detailing the typicalkey party assignm entchain required by a typical
        PSA:

                 23.Aspartofthe process,thebanksalm ostuniversally separated the
        m ortgage notefrom thedeed oftrust.Underthecom m on law ,the ownerofthenote
        hasthe rightto paym entson thenote,and theow nerofthedeed oftrusthasthe
        rightto foreclose on the hom eow ner ifhom eow ner defaults on the note.
        Traditionally,beforeinvestm entbanksbegan securitizing m ortgage notes,the holder
        ofthenotew ould universally holdthedeed oftrust.Thism adesense becausethe
        party w ith the rightto collectpaym entson thenotew ould w antto beableto
        foreclose using the deed oftrustifthe hom eow nerdefaulted.
                                               9
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                24.However,to stream line thesecuritization process,theinvestm entbanks
         createdan entity calledm ortgageElectronicRegistrationsSystem (''MERS''),whois
         oneofthe defendantsin thiscase.The investm entbanks,in addition to using MERS'
         electronicdatabaseto track thebuying selling and assignm entsofsecuritized
         mortgagenotes(bypassingthecountyclerks'offices),wouldtransferdeedsoftrust
         to M ERS,thereby separating the m ortgage note from the deed oftrust.M ERS w ould
         hold the deed oftrustforw hoeverlaterclaim ed tobethe ''owner''ofthe
         hom eow ner's m ortgage note.
                 25.PlaintiffJAMESBUCKMAN allegesthatDefendants,andeachof
         them,cannotshow properreceipt,possession,transfer,negotiations,assignm ent
         and ownership ofthe borrower'soriginalProm issory Noteand Deed ofTrust,
         resultingin im perfectsecurity interestsand claim s.

                 26.PlaintiffJAMESBUCKMAN furtherallegesthatDefendants,andeach of
         them,cannotestablish possessionandpropertransferand/orEndorsementofthe
         Prom issory Note and properassignm entofthe Deed ofTrustherein;therefore,
         none oftheDefendants,and each ofthem ,do nothave the ability to establish that
         m ortgagesthatsecure theindebtness,orNote,w erelegally orproperly acquired.



                 27.PlaintiffJAMESBUCKMAN allegesthatan actualcontroversyhas
          arisen and now existbetween thePlaintiffand Defendants,and each ofthem .
          PlaintiffJAMESBUCKMAN desiresajudicialdetermination anddeclarationofits
          rightswith regard tothe Property and thecorresponding Prom issory noteand
          Deed ofTrust.PlaintiffJAMESBUCKMAN alsoseeksredressfrom Defendants
          identifiedhereinfordamages,forotherinjunctivereliefand forcancellation of
          w ritten instrum entsbased upon:

                 a.An invalid and unperfected security interestin Plaintiff'sHom eherein
          after described;

                  b.Void 'TrueSaletsl'violatingFLORIDA 1aw andexpresstermsofthe
                                                10
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          poolingandservicingAgreement(''PSA'')governingthesecuritization ofPlaintiff's
          m ortgage'

                  c.An incom plete and ineffectualperfection ofa security interestin
          Plaintiffs Hom e;


                                    L FACTUALALLEGATIONS
                   TH ERE IS ABSO LUTELY NO LANCA STER NOTE A T ALL

       BecauseLeroy W illiamsdid notgo to the Closing and did notsign the Notesto
        LANCASTERBANK,so then the Notew asneverAssigned to M ERS,exhac.
      Assignmentmustberecordedwithin30 daysF.S.494.00753.(3)our Assignm ent
      W asRECORDED IYEARAND 5MONTHSAFTERTHESALE/CLOSING,TheAssignment
      conveyed,soldandsigned 10/20/05Recorded03/21/27,exh.C BecauseMERS
      nevergota LegalAssignmentfrom LancasterBank because there wasno Leroy
      W illiam 'sMortgage Notethatexhisted.So M ERS did notAssign theM ortgage Noteto
       Deustch Bank,W hich show s thatthis EVICTION is ILLEGA L THEFT 0F THIS PROPERTY,
      w e actually have no rights to ow n property.here's m ore proof
       lfM ortgage N ote is notrecorded by 1 yearthe M ortgage Note isvoid.This Note w as
      neversignedand neverRecordedwith LeroyW illiamssignaturefrom 10/20/05until
      today so M ortgageNoteisvoid .And in violation ofF.S.695.01.and see:Exh.A,


      TheM ortgage Note hasa spacein the rightcornerofM ortgage Note forthepreparerof
     the Notew here thenam eand post-officeaddressofthe naturalperson who prepared
     theinstrum entorunderw hosesupervision itw asprepared are legibly printed,type
     W ritten orstam ped upon such instrum ent;thisNoteisvoid.And in violation of
     S.695.26 (1)(b).F.)AndthentheNotewasConveyed illegallybyLancasterBankto
     MortgageElectronicRegistrationSystems(MERS)with nothirtydayorany notice
     AsrequiredbyFloridawhichrendersNoteunenforceableandvoid.F.S.701.02(1)(2)(3).
      Notice requirem ent-The borrowerm ustbegiving 15-30 daysnoticebeforenote issold
      orassignedtoanotherentity.(RESPA Law 12U.S.CODEj2605)theMortgageNote
      signed 10/20/05andtheAssignmentwasonthesamedayofSalewithoutrequired
      Noticealso in the originalfraudulentm ortgagenotePAGE 11 num ber20 states

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      thatthesale ofnoteorchangeofservicestheborrow mustbegiven notice according to
      RESPA 1aw which is15 to 30 days.Butthe fraudulentAssignm entw assigned Oct.20th
      2005,exh.C.thesam e day asthe fraudulentclosing,written on the frontpage ofthe
      MortgageNote,exh,A.whichmakesthisAssignmentvoid.F.S.701.02(1)(2)(3).

    Assignm entsm ustberecordedw ith in 30 daysaccording to Florida STATUTE
    494.0075.3 (2)(3).ThisAssignmentwasrecorded twoyearsaftersalewasillegally
    signed,exh.C.thisAssignm entistotally void.lfAssignm entis notrecorded by 30
    daystheAssignm entisvoid according to Florida Statute 695.01,TheAssignm ent
   w as signed and notarized Oct.20th2005 butw as recorded M ay 21st2007,one year
    and5monthslater.Exh.C.) (Mclean v.JpMorgan)saysyoucan'tforeclosebefore
    you ow n the Note!The Assignm entfrom M ERS to Deutsche Bank isVoid because
   assignmentwasmadeafterforeclosurestarted 06/20/07,exh.M.andtheMERS
   AssignmenttoDeutscheBankwas08/22/07,exh.N.and (Mcleanv.JpMorgan).
    ILLEGA L FA KE NOTARY PUBLIC VOIDS OW N ERSHIP 0N M ORTGAGE NOTE
    TheNotary on theM ortgage Note isaVOID.The Notary stam p m ustcontain
    Com m ission orID num ber,to identify theperson ifneeded tovarify orin court,
    (OurMortgageNotefor1977addresshasnocommissionorID numberthat'sat
    allLegible to hide theirthievery see page 15 ofthe M ORTGAGE N ote ofRecord.
    nviolation ofF.S.117.05 (3)(A)and F.S.695.26(1).ThisMortgageNotedoesnothave
    proofofidentityofsignerasrequiredinviolationofF.S.117.05#(5)and(5)(a)see
    exh,C.page 2.atm iddleofthepaper.The Notariesnam e m ustbeprinted undertheir
    signature,on 1977 M ortgage Notethereisno printed nam e underthe Notary Public
    ignaturein violation ofthe fakeAssignm entto M ERS.lsvoid ofseeexh.C.Page 2.
    FS.695.26 (1)(D)(E).New JerseynotarystamprulesisthesameasFloridarules,the
    New Jersey notaryof2005lookstotally differentfrom theFraudulentoneonour
    Mortgage note,exh.P.and C.TheStateofNew JerseyNotarystamp onourmortgage
   assignm entisaCOM EPLETLY MADE UP FM UD!Exh.C.page 2.and isapunishable
   felony,5.775.082 775.083 or 5.715.84. ILLEGAL FAKE NOTARY PUBLIC VOIDS
   OW NERSHIP 0N M ORTGAGE ASSIGNM ENT Musthave atleastonew itness.Thereisno
   withwitnessonourMortgageAssignmentinviolationof,F.S.117.05 (b)1.a.b.c.d.e.
   seeexh.C.page 2.theAssignm entisvoid.TheNotary on theAssignm entisa fake.

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                 T11e Nota
                          ry stao p m t
                ffneeded t            ystcontaju
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    behind protectiveglass.He'son Video red stam p the m ortgageand saying therecords

    dept.willnotRecord Mortgageswithouttheoriginalsignature and She'son video after

    red stam ping and putting my paym entreceipton the Certified so called Leroy W illiam s

    show ing Mortgage Noteon Cam era,video show sblacked outinitialson LancasterNote.

    And two m anagersofthe Clerk'sofficesaying there'snow ay thisNote should have been

    puton Recorded w ithoutthe Signature,see godsz.com # AA.and A B.and Irecorded this

    al1on docketforLeroyW illiam sthere'sno signed Mortgage,Prom issory orPrepaym ent

    RiderRecorded in Dade County.Thereisno lostNotecountin Deustche Bank Complaint

    and M ERS isnotlisted in the Note as Nom inee or anything atall,exh.A.W hich is w hy they

    did a Fake M ortgage Assignm entw hich included the Prom issory Note as stated on the

    bottom ofthe Assigned note from Lancaster Bank to M ERS exh.C.,signed by the Vice

    PresidentofLancaster(DarlenePerera)thesameladywhoontheexactsamedateshe
    signed a fakeAllongeto anotherBank called Indy M acBank before theAssignm entto

    from LancasterBank to M ERS ,illegalsee exhibit.CC 1-5 you can'tGIVE a N ote to tw o

    differententitiesespecially on thesam e date.And did notrecord theassignm entuntil

    2007 1 year and 5 m onthsafter sale ofthe Note w hich m akes the Note Void according

    to F.S.exh.C.Allow ing an unsigned Mortgage Noteto beRecorded in Floridawhich isa

    Felony,F.S.817.2341and 775.082,775.083 and 775.084.And are allforgeriesthatcan

    alm ostbe seen undertheblacked outink w hen comparingthatsignatureto theother

    signaturesoftheothernotesw ith the correctsignature seethe PlaintiffsLancster's

     Recorded Note show sNote hasa w rong forged signature thatyou can see under

     the blacked outsignature,exh.A.ThisistheCorrectLeroy W illiam 'srealsignature

    from theothernotefrom realRecorded NoteofLeroy W illiam sotherproperty.From a

    realClosings,seepgs.16 and 20 of,exh.Bland B2.And Flam ingo Title Company w as

                                                 14
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    sued byAttorneyTitleInsurance Co.Because ofm oney given butno Note,exh.F,.And

    no valid W arranty Deed becauseAlexanderM oreraw asnotthereand did notsign the

    W arranty Deed,exh.G.0ne ofthe ownersofthehom e 1977 ne 119throad Miam i33181,

    JamesBuckmanwasnotattheclosing,seeaffidavitexb.H.andJamesBuckman didnot
    signanythingasitAPPEARED onthefakeW arrentyDeed,exh.G.SeeJamesBuckman's

     realsignatureondriverslicense,exh.H2.SomeoneillegallysignedforJamesBuchman.
    SeeAffidavitfrom MauriceSymonetteanotherownersayingthathe(Maurice)wastheir
    attheAngrywiped outnon closingandwitnessedthatJamesBuckman,TannerCarter,
    Alexander M orera nor did Leroy W illiam sshow up to the closing and the W arranty Deed

    wasnotsigned,seeexh.L.Affidavitfrom JamesBuckmanstateingthathewasnotatthe
    closing so there w as no LegalW arranty filed on the Record!So paym ents continued to

    Bank,exh.S1,S2,S3.and then EM C Mortgage Bank EM C.M ortgage co.w rote and said

    m ake allpaym entsto INDY MAC BANK,exh.T.And Paym entsw erem adeon tim eeven

    sixmonthsafterDeutscheBank Foreclosurewasstarted 06/20/2007,exh.M.See
    receiptsshowingpayments06/19/07to 09/29/074 monthsafterDeutscheBank
    oreclosurestarted exh.K1,K2,K3,K4..And unknow n Bank.Deustch Bank Lis

    Pendancedatefiledw ith no Due ProcessNoticeto us,see page 11 ofDade Docket

     exluo.Thisfiled w hile Paym entsw ere stillbeingm ade and on TIM E,exh.

    And notice the N ote blacked outthe Loan Num ber so thatyou could

     notcheck it,exh.A.they also m ade big m istake and show ed thatLancaster

      B ank A llonged the N ote to lndyM ac Bank FSB ,Exh.F.So the only Bank

       then thatcould sellor A ssign the LancasterN ote to M ER S islndyM ac B ank,

       of course this w as never done.Because Lancasterw ithoutN ote ow nership

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       Case 1:19-cv-24184-MGC Document 1 Entered on FLSD Docket 10/10/2019 Page 16 of 45


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    an beaccessed through theabovem entioned footnote,


    An expert,certified,forensicauditofthePlaintiff'sloan docum entsrevealsthatPlaintiffs
    m ortgage notew asrequired to atleastgo through thisassignm entchain ofkey parties
   beforeitreached the REM IC trusteeitw asdestined for:rf'
                                                          hePlaintiffsPSA requiresthat
   his/hernoteordeedoftrusthadtobeendorsedandassigned,respectively,tothetrust
   and executed by m ultiple intervening partiesin the above chain ofassignm entbefore
   itreached the REM IC Trustee.
   Plaintiffexecuted a series ofdocum ents,including butnotlim ited to the NoteandDeed
   ofTrust,Securing the Property in the am ountofthe Note.The Originalbeneficiary and
   nom inee underthe Deed ofTrustw asm ers.
   Plaintiffisinform ed and believes,and thereon alleges,thatthepurchasem ortgage on the
   property,thedebtorobligation evidenced bythe Note and the deed ofTrustby Plaintiffin
   favorofthe originallender and other Defendants,regarding the Property,w asnot
   properly assigned and transferred to Defendants operating the pooled m ortgage funds or
   trustsinaccordancewiththePSA and/orFLORIDA law ofentitiesmakingandreceiving
   thepurportedassignmentstothistrust.In accordancewiththePSA and/orFLORIDA law
   oftheentitiesm aking and receiving thepurported assignm entsto thistrust.
   PlaintiffallegesthatthePSA requiresthateach NoteofTrusthad to endorsed and
   assigned,respectively ,to thetrustand executiveby m ultipleinterview ingpartiesbefore
   itreached theTrust,Here,neitherthe Note northe Deed ofTrustw asassigned to the
   Securitized Trustby closing date.Therefore,underthe PSA,any assignm ents ofthe Deed
   ofTrustbeyond the specifiedclosing datefortheTrustarevoid.Plaintifffurtheralleges
   thateven ifthe Deed ofTrusthad been transferred intothetrustbythe closingdate,the
   transaction isstillvoid astheNotew ould n0thavebeen transferred according to the
   requirem entforthe PSA,Sincethe PSA requiresa com plete and unbroken chain of
   transferand assignm entstoo and from each intervening.Plaintiffinform ed and believes,
   and thereon alleges,thattheLANCASTER Mortgage         Bank LLC had noofficersor
   directorsand nocontinuing dutiesotherthan to hold assetsand to issuethe seriesof
   certificates ofinvestm entin m ortgage backed securitiesin the prospectus.

   Identified herein below.detailed description ofthem ortgageloanszwhich form the duly

                                                 17
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   filled with theSEC and W hich can beaccessed through thebelow m ention
                                                                         ed footnote.

         Plaintiffisinform ed and believes, thatDefendantsDeutsche bank allegesthatitisthe
                                                                         ,
         ''holderand ow ner'
                           'oftheNoteand thebeneficiary ofthe Deed ofTrust
                                                                          , How ever,the
         Noteand Deed oftrustidentify the m ortgageand notholderastheoriginallender
         allegedly sold them ortgageloan toLANCASTER M ortgage BankLl.c
        Plaintifffurtherallegesthatno docum entsorrecordscan be produced thatd
                                                                                     em onstrate
       thatpriorto theclosing date forLANCASTER M ortgageBank LLC the notedul
                                                                             y
       endorsed,transferred and delivered to LANCASTER MortgageBank LLC including al1
       interviewing transfers.Norcan any docum entsorrecordsbe produced that
       dem onstrate thatprior to the closing date, the Deed ofTrustw as duly assigned
                                                                                      ,
       transferred and delivered to LANCASTER M ortgageBank LLC includinga1lint
                                                                               ervening
       assignm ents.


        Plaintifffurtherallegesthatany docum entsthatpurportany interestinthe Note to
        LANCASTER M ortgage Bank LLC aftertheTrustclosing datearevoid asa m atterof
        law,pursuantto NEW YORK trust1aw and relevantportionsofthePSA.

    PlaintiffJAMESBUCKMAN'S LeroyW illiam s)debtorobligationdid notcomplywith
    New Yorklaw,and/orotherlawsandstatues,and, thus,donotconstitutevalid and
    enforceable ''True Sale.''Any security interestin the Property was, thus,never
    perfected.The alleged holderoftheNoteisnotthebeneficiary ofthe Deed ofTrust
    Thealleged beneficiary ofPlaintiffsDeed ofTrustdoesnothavethe requisitetitle,
    perfectedsecurityinterestorstandingtoproceedin aforeclosure;and/ornotthe
    realparty in interestwith regard toany Action taken to betaken againstthe
    property.
    PlaintiffJAMESBUCKMANSisalsoinformedandbelieve, and thereon allegesthatat
    al1tim esherein m entioned, and any assignm entofaDeed ofTrustw ithoutproper
    transferofthe Obligation thatitsecuresisa legalnullity.


    ln orderforthe Trusteeofthesecuritized trustto havea valid and enforceable
    secured claim againstPlaintiffs Hom e, theTrustee m ustproveand certify to a11

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     partiesthat,am ong otherthingsrequired underthepsA:There wasacom pleteand
     unbroken chain ofendorsem entsand transfersoftheNotefrom and to each party
     tothesecuritizationtransaction (whichshould befrom theA MortgageOriginator
     tothe(B)Sponsortothetc)Depositortothe(D)Trust/Trustee,andthatallthese
     endorsem entsandtransferswerecompletedpriortotheTrustclosingdates(See
     Discussionbelow);andTheTrusteeoftheSecuritized Trusthad actualphysical
     possession ofthe Noteatthatpointin tim e,w hen allendorsem entsand
     assignmentshadbeen completed.Absentsuch proof,PlaintiffJAMESBUCKMAN
     allegesPlaintiffJAM ESBUCKMAN'SHomethatistheSubjectofthisaction.
     Therefore,ifthe Defendants,and each ofthem did nothold and possessthe Note on
     or before the closing date ofTrustherein,they are estopped and precluded from
     asserting any secured orunsecured claim in thiscase

         PlaintiffJAMESBUCKMAN isinform edandbelieves,andthereon alleges,that
         pursuanttothetermsofthePSA,theMortgageOriginator(i.e.,theoriginallender
         herein)agreedtotransferandendorsetotheTrusteefortheSecuritizedtrust,
         w ithoutrecourse,including allintervening transfers and assignm ents, allofitsright,
         titleandinterestinandtothemortgageloan (Note)ofPlaintiffJAMESBUCKMAN
         herein and a1lothermortgageloansidentified inthePSA.PlaintiffJAMESBUCKMAN
         isfurtherinform ed and believes,and thereon alleges,thatthePSA providesthatthe
         transfersand assignm entsareabsolute,were m ade forvaluableconsideration,to
         w it,in exchangeforthe certificatesdescribed in the PSA,and w ere intended by the
         partiesto beabonafideor''Truesale.''Since,asalleged herein below ,Truesalesdid
         notactually occur,Plaintiffallegesthatthe DefendantTrusteesare estopped and
         precluded from asserting any secured orunsecured claim in thiscase.


        29.          PlaintiffJAMESBUCKMAN isfurtherinformedandbelieves,and
  thereon alleges,thatasa resultofthe PSA and otherdocum entssignedunderoath in
  relation thereto theM ortgage Originator,sponsorand Depositorare estopped from claim ing
  anyinterestintheNotethatisallegedly secured bytheDeedofTrustonPlaintiffJAMES
  BUCKM ANS Hom e herein.


       30.           PlaintiffJAMESBUCKMAN isinformed and believe,andthereonallege,
                                                19
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 thattheNotein thiscaseand the otherm ortgage loansidentified in thePSA,were never
 actuallytransferred and delivered by the Mortgage Originatorto theSponsororto the
 Depositorfrom theDepositortotheTrusteefortheSecuritizedTrust.PlaintiffJAMES
 BUCKMAN furtheralleges,on inform ation and belief,thatthe PSA herein providesthatthe
 M ortgage FilesoftheM ortgagesw ereto bedelivered to LANCASTER M ortgageBank LLC
 which M ortgage Filesincludethe originalDeedsofTrust,herein.Based upon theforegoing,
 PlaintiffJAMESBUCKMAN isfurtherinformedandbelieve,and thereonallege,thatthe
 followingdeficienciesexist,in the''TrueSale''and securitization processastothisDeed of
 Trustwhichrendersinvalid any security interestin the PlaintiffJAM ES BUCKMANS m ortgage,
 including,butnotlim ited to:


        a.Thesplittingorseparationoftitle,ownershipandinterestin PlaintifJAMES
  BUCKM ANSNoteand Deed ofTrustofw hich theoriginallenderistheholder,ow nerand
  beneficiaryofPlaintiffJAMESBUCKMAN'SDeed oferrust;
        b.W hen the loan w assold to each interviewing entity,therew ere noAssignm ents
  ofthe Deed oftrustto orfrom any interview ing entity atthe tim e ofthe sale.Therefore,
  ''True Sales''could notand did notoccur;
            The failureto assign and transferthe beneficialinterestin PlaintiffsDeed ofTrust
 to Deutsche Bank,in accordance w ith PSA ofthe Defendants,asSecuritization Participants;


      d. thefailuretoendorse,assignandtransferPlaintiffJAMESBUCKMANS
 NOTEAND/OR mortgagetoDefendantBank,asTrusteeforLANCASTER Mortgage
 Bank LLC
        E. No Assignm entsofBeneficiary or endorsem ents ofthe Note to each ofthe
 interveningentitiesin thetransaction everoccurred underFlorida Law,w hich isconclusive
 proofthatno true sales occurred as required under PSA filed w ith the SEC;and


       F.Defendants,and each ofthem,violated thepertinentterm softhePSA.
            31.PlaintiffJAMESBUCKMAN,therefore,alleges,uponinformationandbelief,that
            neitherthesecuritization transaction,norany oftheDefendantsin thiscase,hold a
            perfected and secured claim in theProperty;and thatallDefendantsare estopped and
            precluded insertinganunsecured claim againstPlaintiftlAMEs BUCKMAN'Sestate.
                                                  20
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             32.     The term softhefinancetransaction w ith LANCASTER M ortgage Bank
      LLC are notclearorconspicuous,norconsistent,and areillegalwhich violatesseveral
      statuesand isin essencecreatesa fraudulentand unenforceable loan. Further,this
      loan w asunderw ritten w ithoutproperduediligenceIV LANCASTER M ortgage Bank
      LLC asevidenced by theirfailuretoverify borrow er'sincom eutilizing signed IRS
      Incom eTax DisclosureForm 4506T which w ouldhave provided pastborrow ertax
      returns.LANCASTER M ortgage Bank LLC also used a ''GDW CostofSavings''asthe
      lndex forbasisofthisloan.Becausethe LendercontrolsthisIndex and itisdirectly
      based upontheparentcom pany itw asnotavalid index forthebasisoftheloan.


             33.     Inaddition,andunbeknownsttoPlaintiffJAMESBUCKMAN,INDY
      M AC BA NK,EM C M ORTGAGE BANKERS LLC knew or should have know n that
      PlaintiffJAMESBUCKMAN couldnotqualifyfororaffordby,forexamplethe
      underw riterhas approved thisloan based upon creditscoresand the borrow er's
      Stated lncom e only Had LANCASTER Mortgage Bank LLC used a moreaccurateand
      appropriatefactor,such asTax Form sand a m ore determ inativeleverofscrutiny of
      determiningcomplywiththerequirementtoprovidePlaintiffJAMESBUCKMAN
      with aM ortgage Loan Origination Agreem entthe debttoincom e ratio, Plaintiff
      JAMESBUCKMAN withaMortgageLoan OriginationAgreementthedebttoincome
      ratio,PlaintiffJAMESBUCKMAN W ITHA MORTGAGELOAN ORIGNATION
      Agreementthedebtincomeratio,PlaintiffJAMESBUCKMAN wouldnothave
      qualified forthe loan in the firstplace.Consequently, LANCASTER M ortgage Bank
      LLCSOLD PLAINTIFFJAMESBUCKMAN aloanproductthatitknew orshouldhave
      known w ould neverbeableto be fully paid back by Plaintiff




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        JAMESBUCKMAN.INDY MAC BANK,EMCMORTGAGEBANKERSLLCignored
        long-standingeconom icprincipalsofunderw riting and instead,know ingly,
        liberally,greedily and w ithoutany regard forPlaintiffsrightssold Plaintiffa
        deceptiveloan productTherew asno determ ination oftheability ofthe
        borrow erto repay theloan,w ith com pletedisregard forthe Guidance
        Lettersissuesby FederalAgenciesand even Federaland State Law.


        55. Additionally,Defendants and each ofthem ,neither explained the
        workingsoftheentire m ortgageloan transaction,how the rates,finance
        charges,costs and feesw ere com puted,northe inherentvolatility ofthe
        loan products provided by defendants.


         56. Thepurpose ofentering intotheabove-described m ortgageloan
  transactionsw asfor Plaintiffto eventually ow n the Property.Thatpurpose w as
  know ingly and intentionally thw arted and indeed m ade im possible by Defendants
  com bined actionsas alleged herein.


      57.    PlaintiffJAM ES BUCKMAN'S titleto theabove-described property is
  derived asfollows:On oraboutMarch1,2006 (hereinafterreferredtoas''Closing
  Date'')LeroyW illiamswethoughtenteredintoaconsumercredittransactionwith
  LANCASTER M ortgage Bank LLC by obtaininga $2,600,000.00 m ortgage loan
  securednow byPlaintiffJAMESBUCKMAN'Sprincipalresidence,(Subject
  Property).ThisnotewasthoughttobesecuredbyaFirstTrustDeedonthe
  Property in favor ofLANCASTER M ortgage Bank LLC
      58. Al1Defendantsnam ed herein claim an interestand estate in the
  property adverse to plaintiffin thatdefendantasserts he's isthe ow ner ofthe note
  securedbythedeedoftrusttothepropertythesubjectofthissuit.
      59.A11Defendants nam ed herein claim san interestand estate in the property adverse to
      plaintiffJAMESBUCKMAN inthatdefendantassertsheis




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  The claim ofalldefendantarew ithoutany rightw hatsoever,anddefendantshaveno right,
  estate,titlelien orinterestin ortothe property,orany oftheproperty.


       60. Theclaim ofalldefendantsherein named,and each ofthem,claim som e estate,
right,title,lienorinterestin ortothepropertyadverseto PlaintiffJAMESBUCKMAN stitle,
and these claim sconstitutea cloud on plaintiffstitle to theproperty.


       61.PlaintiffJAMESBUCKMANS,therefore,allege,upon information andbelief,thatnone
ofthe parties to neitherthe securitization transaction,norany ofthe Defendants in this case,
hold aperfected and secured claim in the property;and thatallDefendantsareestopped and
precludedfrom assertinganunsecuredclaim againstPlaintiff IAMESBUCKMANSestate.

      62. PlaintiffJAMESBUCKMAN requeststhedecreepermanentlyenjoin andallpersons
claim ingunderthem ,from asserting any adverse claim to plaintiffstitleto theproperty;and


      63.PlaintiffJAMESBuclfMANrequestthecourtawardplaintiffcostsofthisaction,and
 such otherreliefasthe courtm ay deem proper.


         B.


      64.SincethecreationofPlaintiffJAMESBUCKMAN'SNoteherein and Deed ofTrust,
 DefendantM ERS w asnam ed the ''beneficiary''ofthe Deed ofTrust.


       65. Plaintiffisinform ed andbelieves,and thereon alleges,thatDefendantsM Elks lacks
  theauthority underitscorporatecharterto foreclosea mortgage,orto own ortransferan
  interestin a securitized m ortgage because M ERS charterlim its M ER'S pow ers and duties to
  functioning aselectronicregistration system ofcertain typesofsecurities.




                                                  23
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             66.Plaintiff JAMES BUCKMAN is informed and believes,and thereon
       alleges,thatin orderto conducta foreclosureaction,a person orentity m usthave

       standing.



             67,Plaintiff JAMES BUCKMAN is informed and believes, and thereon
       alleges,thatpursuantto N ew York law ,to perfectthe transferofm ortgage paperas

       collateral,the ow ner should physically deliver the note to the transferee.W ithout

       physicaltransfer,the sale ofthe note is invalid as a fraudulentconveyance or as

       unperfected.



              68.The note is this action identifies the entity to w hom it w as payable, the

       originallender.Therefore,the Note herein cannotbe transferred unless it is endorsed;

       theattachm entsto thenotice ofdefaultdo notestablish thatendorsem entswere m ade,

       norare there any other notices which establish thatthe originallender endorsed and

       sold the note to another party.



              69.Furthermore,insofaras the partiesto the securitization ofPlaintiffJAMES
       BUCKM AN'S Note and Deed ofTrust base their claim that the Note w as transferred or

       assigned to DefendantDeutsche Bank,theTrusteeoftheSecuritized M ortgage herein,by

       the originallender,itisw ellestablished state law thattheassignm entofa Deed ofTrust

       does notautom atically assign the underlying prom issory note and right to be paid and

       thesecurity interestisincidentofthedebt.



              70. Pursuantto state law ,to perfectthe transfer ofm ortgage papers ascollateral
                                                24
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              for a debt
                         ,   the OW ner
                                    should phy
             physfcal transfer                  sically deliv
                             , t
                                                             er the note to
                               he sale                                       the transfe
                                        of the not                                       ree. W ithotlt
             unperéect                             e js jupayjtj
                     ed.rln
                          he Not                                  as a jyat
                                                                          jdny
                                 e hervin s                                   eyjt coyveyy , oy-as
            and th                         Pvcjojjy jieutyjs s tyys                        yee
                  exote thev
                       ;    eçove#cann                              VV** Y Whom ft w as
                                       otyeuang
                                                   evved vpjessjt                         payable to
                                                                    isendors
                                                                            ed
                  71.Defend
                            ants, and e
          Prom issory Note has         ach oç them
                                                   , cannot
                            been transf                    produce
                                                                    any evfdence th
         whateverjnt                    err
                                          ed;therefore                                at the
                                                      y, Def
                                                           endantM g
                    erestJthad jn th                                 as coujd o
        Trust are j                 e Deed ofyy                                njy transs
                  nseparabje:                  ustherej n tj
                                                           le pj
                                                              .mm j                        r
                                  an assïgnm ent                       ssojy xote and o
        Trust)wjth jt                          oçthe xot                                  eetjoj
                     # whjjean as                        e canrjes the
                                 sjgnm entoçtj                         mortgagetj.ev oeed oj
        One party re                          le peed oçyy
                    cejves the Not                         ustajone js a
                                  e and anothe                            nunjty. yjjejwjope
       casel,theholder                        r party recej                                 ,jy
                        oftheNote                          ves tjye oeetj
      transferred.
                                  prevajjsrega                            ogyruyygs yu yy
                                              rdjessoéth                                   yy,
                                                         eorde!-jn whj
                                                                        cjjthe jnte
                                                                                    restw ere

            69.Defend
                       ants M ERS has fafled t
   nom fnee for th                            o subm ft doc
                    e orjgjnal lend                        um ents autho
  trustee.                         er
                                    # to assj
                                            gn  th                        rjzjng u cqs
                                                                                       y as
           Jlence# M gRs                          e subject mor tg
                         jacked auth                               age to the s r
  m akïng any a                     orjty asm er                                 eclosffv
               ssfgnm entjs                     e nom ï
                                                      nee  to
                              m u yqs deye                    assjgn plajntjs
                                               ctjve.                         sm ortgag0,

       70.ln the i
                  nstantaction
                             , M ERS
 the m ortga                        , ast
                                        he nom ine
            ge, but cannot d                      enotonly lack
                            em onstrate th                     sauthority to
assignm entby ME                          e Trustee'
                                                   sk                       assign
                 RS tothefo                           nowledge or
                           reclosingtrust                          assent to the
                                         ee.




                                          25
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              71.Any attem ptto transferthebeneficialinterestofatrustdeed w ithoutactual
       ow nership oftheunderlying note,isvoid underlaw.Therefore,Defendant,M ERS,
       cannotestablish thatitisentitled to assertaclaim in thiscase.Forthisreason,asw ell
       asthe otherreasons setforth herein below ,M ERS cannottransfer an interestin real
       property,and cannotrecoveranything from Plaintiff.


              72.Defendants,and each ofthem ,through the actions alleged above,have or
       claim the rightto illegally com m enceforeclosureunderthe Note on the Property viaa
       foreclosure action supported by false or fraudulentdocum ents.Said unlaw ful
       foreclosure action has caused and continues to cause Plaintiffsgreatand irreparable
       injury inthatrealpropertyisunique.FLA.STATUE 95.11CALCODECIVIL
       PROCEDURE 760.020.Plaintiffs seeks to quiettitle againstthe claim s ofthe
       Defendants and allpersonsclaim ing any legalor equitable right,title,estate,lien,or
       adverseinterestinthepropertyasofthedatethecomplaintwasfiled (FL.statute
       95.11CalCodeCivilProcedure760.020).Plaintiffsisthetitleholderoftheproperty
       accordingto theterm sofagrantDeed Dated Sept,07,14,2006.
       LancasterBank securitized plaintiffssingle-fam ily residentialm ortgage loan by Selling
       the Note as a Security on the stock m arket.Plaintiffis inform ed and believes thatthe
       unlaw fulbeneficiary has been paid in full.The m ortgage statesin paragraph lender
       shallrequesttrusteeto reconvey the property and shallsurrenderthissecurity
       instrum entand a1lNotes evidencing debtsecured this security instrum entto Trustee
       Trusteeshallreconvey theproperty w ithoutwarrantyto theperson orpersonslegally
       entitled toit...Mortgagedoesnotstate thatPlaintiffmustm ake afullpaym ent,only
       thatal1secured sum sm ustbe paid.Plaintiffallegesthatthe obligationsow ed to
       Lancasterunderthe m ortgagew ere fulfilled and theloanw asfully paid w hen
       Lancasterreceived fundsin excessofthebalanceon theNOTE asProceedsofsale
       throughsecuritizationts)oftheloanandinsuranceproceedsfrom creditdefault
       swaps.W e know thatMERSwasused to selltheNOTE in abundle of5000 other
       NOTES on the Marketunendorsed so asto beabletosellitoverand overagain w ith
       each investorbelieving he ow nstheNoteand to stop investorsfrom going afterand
       collecting on the investm ent.


                                                 26
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                73. Reconveyanceupon paym entofa11sumssecured bythissecurity
         instrum ent,FLA.STATUE 95.11 CAL CODE CIVIL PROCEDURE 760.020 Plaintiff


                74,Kelleyv.Upshaw,39 Cal. 2d 179,192,246 P.2d 23 (1952)9Hydev.
         Mangan,88 Cal.319,327, 26 P.
                                    180 (1891);Polhemusv.Trainer,30 Cal.685,688         ,

         1866W L831(1866).SeeJohnsonv.Razey,Cal.342,344, 184 P.657 (1919).

                75.Thew rongfulconductoftheabove specified Defendantsand each of
         them,unlessrestrainedand enjoinedbyan OrderoftheCourt, w illcontinue to
         causegreatand irreparableharm to Plaintiff. Plaintiffw illnothavethebeneficial
         useandenjoymentofitsHomeandwilllosetheproperty          .




                76.Plaintiffhasnootherplain, speedy oradequate rem edy and the
         injunctivereliefprayed forbelow isnecessaryandappropriateatthistimeto
         preventirreparablelossto Plaintiff.Plaintiffhassuffered and w illcontinue to
         sufferinthefutureunlessDefendantswrongfulconductisrestrainedandenjoyed
         because realproperty isinherently uniqueand itwillbe im possibleforPlaintiffto
         determ inethepreciseam ountofdam ageitw illsuffer.
                            SECON D CAUSE O F A CTIO N SLAND ER O F TITLE


               77. PlaintiffJAMESBUCKMAN re-allegesandincorporatesby
        reference allprecedingparagraphsasthough fully setforth herein .


               78. PlaintiffJAMESBUCKMAN incorporateshereeach and every
        allegation setforth above.
               79. Defendants,and each ofthem , disparagedPlaintiffJAMESBUCKMAN'
                                                                               S
        exclusivevalid titleby and through the preparing , posting,publishing,and
        recording ofthe docum entspreviously described herein, including,butnotlim ited
        to ,theNotice ofDefault,Notice ofTrustee'sSale, and Trustee'sDeed.




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                80.Said Defendantsknew orshould haveknow n thatsuch docum ents
          w ere im proper in thatatthe tim e ofthe execution and delivery ofsaiddocum ents
          Defendantshad no right,title, orinterestin the Property.These docum entswere
         naturally and com m only to beinterpreted asdenying, disparaging,and casting
         doubtupon Plaintiffslegaltitletotheproperty. By posting,publishing,and
         recording said docum ents'disparagem entofPlaintiffslegaltitle wasm adeto the
         w orld atlarge.


                81.Asadirectand proxim ateresultofDefendantsconductin publishing
         thesedocum ents,PlaintiffJAM ES BUCKMAN'S titleto the Property hasbeen
         disparaged and slandered, andthereisacloud on PlaintiffJAMESBUCKMAN'S
         titlewhichwasobtainedby quitclaim deedon 1/01/2007seeexhibitand
         Plaintiffhassuffered,and continuesto suffer, dam ages in an am ountto be
         proved attrial


                82.Asafurtherproxim ateresultofDefendantsconduct, PlaintiffJam es
         Buckman hasincurred expensesin orderto cleartitle to theproperty. M oreover,
         these expensesarecontinuing, andPlaintiffJamesBuckmanawillincuraddition
         chargeforsuchpurpose untilthe cloud on Plaintiffstitleto the property has
         been rem oved.Theam ountsoffutureexpensesand dam agesarenot
         ascertainableatthisAsafurtherdirectand proxim ate resultofDefendants
         conduct,PlaintiffJamesBuckmanhassufferedhumiliation, m entalanguish,
         anxiety,depression,and em otionaland physicaldistress, resultingin the lossof
         sleep and otherinjuriestohisandherhealthandwell-being, and continuesto
         suffersuch injuriesonan ongoingbasis.Theamountofsuchdamagesshallbe
         proven attrial.Atthe tim ethatthefalseanddisparaging docum entsw erecreated
        and published by theDefendants, Defendantsknew the docum entswere false
        andcreatedandpublishedthem with themaliciousintenttoinjuretoPlaintiff
        JamesBuckmananddeprivethem oftheirexclusiveright, title,and interestin the
        Property,and to obtain the Property fortheirow n

                                               28
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         use by unlaw fulm eans.The conductoftheDefendantsin publishing thedocum ents

         described above wasfraudulent,oppressive,and m alicious.Therefore,Plaintiff

         JamesBuckmanisentitledtoanawardofpunitivedamagesinanamountsufficient
         to punish Defendantsfortheirmaliciousconductand detersuch m isconductin the

         future.




          TH IRD CAU SE OF ACTION'
                                 .THE BANK VIOLATED THE THIRTY-DAY NOTIEE
          RULE TH AT SAYS BANK M UST GIVE W H EN T HEY SALE O R ASSIGN TH E NOT E


               83.The plaintiffm ustgive w ritten notice w ithin 30 days ofthe assignm ent

         Fla.Courtshave dem anded strictcom pliance w ith the Statute and have held that

         the required notice isa condition presidenttoa Debtcollection action predicated

         uponanassignmentseeLVNY FundingLLC.v.HarrisFla.LW eeklySupp.C23 (F1a.
         11CIR.CourtJune242009)whereinthecourtFound thatthePlaintifffailedto
         complywiththewrittennoticeofprovisionofF.S.j559.715andtherefore
         dism issedtheactionwith prejudice)accordingly theplaintiffhasneverprovided
         the Defendantthe mandatory 30 day ofassignm entthecaseshould also be

         dism issed forfailureto com ply w ith am andatory condition precedence.Lancaster

         Bank LLC Assigned w rongfully the N ote to M ERS on the sam e day Closing and w as

         doneand only done asan exhibit,see exhibitF2,and notapartoftheAssignm ent.

         So M ERS isnotow ner and the Deutsche Bank Assignm entfrom M ERS isVoid

         Com pletely,and MERSthuscausing Plaintiffsto sufferan im paired and defective

         Title,plaintiffsasked forDam ages.




                84.Deutschebank hasno interestin PlaintiffsM ortgage,so the pending
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         foreclosureon Plaintiffspropertywouldconstituteunjustenrichm entThe  .



         m ortgage statesthatallsecured sum sm ustbe paid.Plaintiffallegesthatthe

         obligationsunderthe m ortgagew erefulfilled when Deutsche Bank received funds

         in excessofthebalance on the NOTE asaresultofproceedsofsalethrough

         securitization to privateinvestorsm any tim esand insurance proceedsfrom credit

         defaultsw aps.




                  85. Deutsche Bank N.A.and itsagentsm ade m aterialm isrepresentations

         and om issionsw ith respectto the term sofPlaintiffsloan in violation oftheTruth

         In LendingAct(TILA).Plaintiffsisinformed and believesthatLancasterBank
        concealed theterm softheloanw ith theintention ofinducing Plaintiffsto refrain

        from investigating and challenging the disclosures untilthe period for rescinding

        theloan expired.

                  86. Plaintiffsdid notreceive any docum entsfrom LancasterBank afterhis
        m eetingto sign documentsata FloridaTitle Com pany, including disclosures
        required by theTruth in Lending Act,RESPA,and a notice ofrighttocancel.


               87.PlaintiffsloanisamortgageloansubjecttotheprovisionsofRESPA, 12
        U.S.C.2605et.seq.andCal.financialCode550505.

                 88.0n Oct.12,2012,Plaintiffrequested a copy ofhisloan application and
        Prom issory Note ata M iam ibranch ofDefendantsin Florida. A bank Officer
        telephoned a LANCASTER M ortgage Bank LLC office in Florida and inform ed
        Plaintiffthathew ould receive theloan docum entsin ten days. No docum entshave
        ru yzxv k rarsn wexnolxyo.l
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                89. Defendantshaveengaged in a nractice ofnon-com nliancew ith RESPA.
         'ncludingfailingto respond to nronerlv subm itted OW R'Ssee ExhibitD.Plaintiffis
         l
         inform ed and believesthatthispractice isdesigned to concealTILA amid RESPA
         violationsand to concealthe identity ofthem any investorsw ho believe they are
         theow nersoftheNOTE,LANCASTER M ortgageBank LLC gotcash from and true
         beneficiary ofthe Loan.Asa directand proxim ate resultofDefendants failure to
         com ply with RESPA,Plaintiffshavesuffered and continuesto sufferactualdam ages
         in thathe's unable to ascertain the basis fordefendants claim sto his property, he
         cannotidentify the ownerofthebeneficiary oftheNote,hecannotdeterm ine
         whetherhispaym entsto lndyM acBank paid tothe beneficiary and there isno
         evidence upon w hich to concludethatDefendantsareacting asNOTE ow nerw ith
         the law fulauthority in theirattem ptsto foreclose the property.UnderRESPA,
         Plaintiffsseekstripledamages,andalsodocumentswereorderedforQualified
         W ritten Request.Form alProtestand Dispute OfAlleged DebtAnd Validity OF
         Alleged Loan,Butneverreceived SeeexhibitD established atwo-parttestfor
         determ ining thelegality oflenderpaym entsto m ortgage brokersfortablefunded
         transactionsand interm ediary transactionsunderRESPA:

              a)W hethergoodsorfacilitieswereactuallyfurnishedorserviceswere
       actually perform ed forthecom pensation paid and;


             b)W hetherthepaymentsarereasonablyrelatedtothevalueofthegoodsor
       facilitiesthatw ereactually furnished orservicesw ereactuallyperform ed.


             90.In applying thistest,HUD believesthattotalcom pensation should be
       scrutinized toassure thatisreasonably relatedtothe goods,facilities,orservices
       furnished orperformed to determ inew hetheritislegalunderRESPA. The interest
       and incom ethatDefendantshavegained isdisproportionate tothesituation Plaintiff
       JamesBuckmanfindthemselvesinduedirectlytoDefendant'sfailuretodisclose
       thattheywillgain afinancialbenefitwhilePlaintiffJAMESBuckman suffer
       financiallyasaresultoftheloanproductsoldtoPlaintiffJamesBuckman.
             91.No separatefeeagreem ents,regardingthe use ofLANCASTER M ortgage
       Bank LLC CostofSavings''asthe lndex forthebasisofthisloan,Disclosuresof
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        additionalincom e duetointerestrate increasesortheproperform and procedurein
        relation to theBorrow er'sRightsto Cancel.




               92.TheAssignm entfrom M ERSto Lancasterhasno LotorParcelDescription
        on The M ortgage assignm entsee exhibitE & F w hich is a void and an illegal
       Assignment(South Florida'sCitrusland Co.v.W alden,5150.554,59 Fla 606(1910),
                                                                               .


       and Garvinv.Baker,59S0.2d 360 (Fla.1952),alsoaccordingtoFla.Stat697.10 For
                                                                                .


       liability forerrorin m ortgage deed orNoteand in any action relatingto real
        Property,ifthe courtshallfind thatany person hasprepared an instrum entw hich
       dueto an inaccurate orim properlegaldescription im pairsanotherperson'stitle to
       realproperty,thecourtm ay aw ard to the prevailing party allactualdam agesthat
       she orhem ayhave sustained asa resultofsuch im pairm entoftitle.

                93.Assignm entofM ortgazew asdone 10/20/05 thesam e dav asthe       -


         Closing butthe Lotand Parcelw as puton record 09/30/05 tw ent'v davs before
         Closing and w as done and onlv done asan exhibit. see exhibitF2.and nota party of
         theassignm ent.So MERSisnotow nerand the Deutsche BankAssignm entfrom
         M ERS isVoid Com pletely,and M ERS thuscausing Plaintiffsto sufferan im paired
         and defectiveTitle,plaintiffasked fortriple Dam ages.




        Fed.Rule 3.1 Standing can bebroughtup any tim eeven on Appeal. Denied
        DefendantsObjectionstoSalewithoutBankprovingtheyhadStandingbecausethe
        Bank filed Com plaintbeforethey ow ned theNote. Plaintiffforeclosed on the
        propertybeforethey ow ned itby w ay ofm aking aFraudulentAssignm entand
        taking Defendantsproperty w ithouthaving Noteow nership. Thisforeclosure
        should neverhavebeen allow ed because theBank didn'thave assignm ent. Ifwe
        lookfurther,theLispendensthatwasusedhasarecordeddateof06/20/2007an
        Assignm entofM ortgagewasrecorded on thatdateby the clerk ofcourtin Miam i
        Dade asseen on exhibitC,and asseen on thesam e Docum ent, theAssignm entwas
        m adeafterLisPendensw asfiledw hich according to M clean v. JpMorgan Chase
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         Bank N.A.).ThisisanIllegalforeclosure,youcannotForecloseon apropertybefore
         youownit(Note),therewasneveranyevidenceofDeutschebankeverowningthe
         Noteorhavinganykind ofanAssignmentbeforetherecorded dateof08/22/2007
         so thisAssignm enthasno effectagainstthe Creditorunlessrecorded beforethe
         Complaint,seeFla.Stat.817.535(e)5(2)(A)apersonwho filesordirectsafilerto
         filew ith theintentto defraud orharassanother,orany Instrum entcontaining a
         m aterially false fictitious or fraudulentstatem entor representation thatpurports
         to affectow nersinterestintheproperty described in theinstrum entcom m itsa
         Felony.Assignm ents to property cannotbe m ade Retroactively the Assignm ent
         beginsfrom thetim e thatthe docum entisrecorded in theCounty Court. There
         havebeen num erouscasesthatwere dism issed because offaulty Assignm entssuch
         asM elean V.IPM .And US Bank V.Ibanezwherethe MassachusettsSuprem e

         Courtfound thatthem ortgageswereassigned to thelenderafterthe com pletion of
         the foreclosure saleor,the Courtdecided thatthe foreclosuresw erevoid becausethe
         lenderslacked legalauthorityto forecloseand then therewasaBalch v. Lasalle Bank
         N.A.171So.3d207,209 (Fla.4*DCA 2015)reversingaForeclosureJudgmentinpart
         because''theassignment(ofMortgagelwasexecutedafterthecomplaintwasfiled,
         also seeAbdelDarwiche and BatoulDarw iche v. Bank ofNew York M ellon,w hen the
         assignm entofm ortgage uponThe Bank ofNew York relied toestablish itsstanding,
         theAppellatecourtagreedW iththehomeowners/thatthegeneralissuesofmaterial
         factrem ained AstoW hethertheassignm entofm ortgagewassufficientto establish
         BNYM 'SStanding atthe inception ofthe suitand also seeDarleneAngeliniand
         JosephAngeliniv.HSBCBANK,etat,4D14-216thebankstestimonydidnot
         establish The relevant:thatitheld the noteatthetim ethecom plaintw asfiled.
         Although TheBankw asclearly theholderatthetim eitintroduced the blank
         indorsedNoteattrial,''(a)plaintiffslackofstandingattheinceptionofthecaseand
         isnota Defectthatm ay becured by theacquisition ofstanding afterthecaseisfiled.
        And cannotbe established retroactively by acquiringstandingtofilea law suitafter
        the fact.''La FranceV.U.S.Bank Nat'lAssn.141 So. 3d754,756(Fla.*DCA 2014)and
         Mccleanv.JpMorgan.ThereforeDeutscheBankdoesnothaveStandingto Foreclose,
        and hereDeutscheBank isatfaultand should pay trebble.
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         The Plaintiffsproperty w assold ata priceso low itshocked theconscience theclerk
         sold plaintiffs$2.1millionhouseforamere$42,000.00seeexb,Dl,inwhichwas
         purchasedbythesamebankwhichis(DEUTSCHE BANK NATIONALTRUST
         COM PANY AS Trustee UnderThe Pooling A nd Servicing Agreem entSeries Rast 2006-
         A8ICSFB)thispriceissolow itshockstheconscienceaccordingtoFl.Stat.45.031-
         (8) MauriceSymonettedid fileobjection tosaleanddemandsthatit
         beheard and hasfound new inform ation to furtherstrengthen ourcase to show that
         the bank isknow ingly illegally taking this property.Deutsche Bank boughtthe
         propertyatauctionin theforeclosuresaleofthesaidproperty on 6/22/2017forforty
         tw o thousand three hundred Dollarsthatprice is so low thatitshocks the conscience
         accordingto Fl.Stat.45.031-(8)whichVOIDStheSALEandRule702.Fl.Stat.702(5).
         F.S.A.MitchellV.Mason andalsosee,FirstbankV.FisherFrichtellnc.whichsays(if
         thecase isso inadequateasto raisean inference offraudthen the foreclosurecan be
         voided)Al1thisdonetobypassTax.DocStam psanddoawavwithalltheliensand
         m oniesow ed attached tothe property.And som edayslaterafterrealizingthatwe saw
         the$42,300.00 salespriceforthe $2.1 m illion and thatwe ow ed andthatdefendants
         saw thatthesalespricewasso low and againstthe Law thatitshocked theconscience,
         thatwhen Defendantscam ebackto question theClerk aboutourBankruptcy and
         w anted to show them anagerhow ridiculously low thatsaleswas.Mysteriously they
         show DefendantsanotherDeutsche Bank differentfrom the firstDeutsche Bank that
         Clerkshowedusjustdaysearlierselling$42,300.00butnow itshowedDefendant's
         propertysoldfor$888,000.00inwhichwediscoveredlaterwasdoneonthesamedate
         6/22/2017withdifferentbank(DeutscheBankNationalTrustCompanyAsTrustee
         forRESIDENATIALASSET SECURITIZATION trustSeries2006-48 M ORTGAGE PASS -
         THROUGH CERTIFICATESSERIES2006-H),evenafterthem seeingustapethem saying
         m outh,givingitto usin w riting and show ing uson theirGovernm entcom puterthe
         salespriceat$42,300.00w ith w itnessesseeYouTube:fDade Clerksarelaw lesslsee
         exb.D1.ThisshowsFraud and CollusionagainsttheDefendantstojusttakethe
         propertywrongfullywhichisthemainreasonsfortheObjectiontosaleandthis
         com plaintisthatthe sale priceissolow thatitshocksthe conscience.Theforeclosure
         am ountowed w as 2.6 m illion and the estim ated value is$1,810,000.00 butshockingly
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           the salew asforty twothousand threehundred.And the Foreclosurewasstarted while
           defendantsw ere in good Standingw ith ourDavm ents.even afterpaying on tim eto the
           Bank and we have proofthatw ew erem akingthe paym entsbeforeand afterthe Bank
           startedthe foreclosureon ussee exhibits1.2,3,4,5.and 6.thisforeclosure sale needsto
           bevoided and recalled duetothe clerk ofthe courtcarelessand fraudulentactivity.
                 NINTH CAUSE O FA CTIO N:V IOLATIO N O F TIM ELY ASSIGNM ENT
                               FLA .STA T.702.02 A ND FLA.STAT.726105(D1


      Also theinstantassignm entwasalso untim ely in orderforthe foreclosureto be
      legaltheassignm entto the m ortgagem ustbe entered in atim ely m anner,thatisit
      should beentered before theforeclosure,in thiscase itwasnot,the LisPendens
      wasrecorded 06/20/2007,exhibitB,and theassignmentwasrecorded
      08/22/2007whichwasatleast63daysaftertheForeclosureseeExhibitC,thus
      DeutscheBank foreclosed beforethey even ow ned the Note and they knew itand
      tried itanyw ay hoping thatthey could getaw ay w ith it,an assignm entcannotBe
      Assigned retro actively see Progressive Exp.Ins.Co.V M cgrath Com ty.Chiropractic,
      913So.2d 1281,(Fla,2d DCA 2005),theplaintiffslackofstandingattheinception
      ofthe case is nota defectthatm ay be cured by the acquisition ofstanding after the
      caseisfiled.Thusa party isnotperm itted to establish therightto m aintain an
      action retroactively byAcquiring standingto filea Law suitafterthe fact..M clean v.
      JpMorgan.ThereforeDeutscheBank HasnoStandingintheownership ofthesaid
      property and for Deutsche to am end the com plaintto startover w ould onlysuggest
      fraud (Pinov.BankofNew York)asitalreadyisbythenatureofthetransaction
      thetransaction it'sselfisdeceptiveand to havethisfaultofan assignm entw ritten
      afterthe Com plaintisfilled,butDeutsche Bank N.A.Stillclaim theyhave standing
      isan action offraud ashavebeen tried by so m any othercasesand the Banksthat
      didthem lost(USBankN.A.vIbanez),Murrayv.HSBCBank USA 2006 0P1)and (
      Powersv.HSBCBANKUSA 2006).A fraudulentTransferisonewhen oneis
      threatenedwithsuitbeforeassignmentofpropertyismade,Fl.Stat.726.105(D),
      and also UCCArticle 3 line #6 saysassignm entsorendorsem entsm ustbe
      effectuated Before suitisfiled.Progressive Exp.Ins.Co.v.M cgarth Comty,Also Fla.
      Fourth DCA and UCC F.S.DH 673ARTICLE 3 0FTHE UCC:saysthey m ustprove
      they ow n theNotebefore they foreclose.On Notethiscase isvoid,Deutsche Bank
      lano n ,x oennrllvx,v1va +la1c.zxnc.o nvxrl vxoexneav+xy c.1an.,1,1 k n nxayeavpzlzazl l.n n lealn elffo zxm
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       M onetary dam ages.
        T ENTH CAUSE OF ACTIO N'
                               .TH ERE W A S NO CONSIDEM TION THE BANK CO NSID ERED
               M ONEY M UST BE GIVEN TO ASSIGN A NOTE. FLA.STATUE701.0241)42)


       FloridaContract(MailBoxLaw)(4)saysyoumustinordertoconsummateacontractoran
      assignmentyou m ustgive consideration m oney. TheJudgeErredandisinViolationofFlorida
      ContractLaw (4)fornotDismissingtheCasebecausetheAssignmenthasno Consideration
      M oney on theAssignm entbetween LancasterBank LLC and M ERS notonly did they violate
      the 30 day noticeon theAssignm entby trying to sale theNoteon thesam e day and they also
      neverConsum m ated thecontractwith m oney consideration, see exb.B and C.Plea and effect
      of.--sw orn pleaofconsideration throw sburden on plaintiff.- - - sm ith v.l,eVesque,25 F1a.
                                                                                                ,
      464:W hitev.Camp ,1 F1a., 94.Pleaofwantofconsideration asagainstbona fideholderof
      negotiableprom issory note ----llancock v. Hale,17 Fla.,808.Section does notobviate
      necessityofexhibitionofinstrumenttothejurr;whenexhibited, consideration pre-
      assignm entorendorsem ent----Sinclairv. Gray,9 FLA .,342.EFFECT 0F SW ORN AND
      unsworn pleaofwantofconsiderartion.- - - - lb.Pleam ustsetforth facts.- - - Ahrensv.W illis,6
      Fla.,359.How draw n and whatshould contain ---W hitev. Cam p,1 Fla.,94 M ustnotbe
      equivalentto illegality orfailureofconsideration ---orm an vbarnard, 5 Fla.,528.Effectof
      unsworn pleaby adm inistrator---Knightv Knight, 9Fla.,283.M ERS isnoton the originalnote
      asanom inee oranything atalland the Noteshow satthe endorsem entpage oftheLancaster
      bank'snotethatal1paym entsaredue to LANCASTER Mortgage Bank LLC on 0(2.20*,2005
      and Lancasteron thesam e day signed thenote to M ERSw ithouta 30 day noticeand'w ith
                                                                                                 no
      m oney consideration and LANCASTER MortgageBank LLC according to Lancasterw asnow
      the noteholderasstated on theback ofthe notebutLANCASTER M ortgage Bank LLC did
      assign thenoteovertoMERS(seeexhibitC,)soMERSaccordingtoLancaster'smoney
      consideration failureand to Lancasterisnottheow nerofthe Noteand M ERS neverdid buy
     theNote ortheassignm entbecausethey neverconsum m ated theassignm entw ith the
     consideration m oney,sothereforetheassignm entfrom Mersto DeutscheBank isInvalid
     because M ERScould notsign a note to Deutsche Bankw hen they don'tow n the Note And   .

     don'tforgettheassignmentw aslate, Filed afterthelisPendenswasfiled in violation of
     Florida DCA third districtcourtofappeal, Mcleanv.JpMorgan.
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                                    PRAYER F0R RELIEF


            W HEREFORE Plaintiff,JamesBuckmanwillaskforthefollowingforeach
            CauseofActiontobeAwarded:Andunderthepenaltyofperjury,verifies
            thathehasreadtheforegoingPetitionforDeclaratoryRelieftoQuietTitle
            and Motion forTem porary Restraining Orderand thatthe factscontained
            therein aretrueand correct.


                                                  am es UC m an
                                                  1977 NE 119thrd.
                                                  M iam i,F1.33181




                                                 SY M O N ETTE M AU RICE
                                               4711 LlParkw ay Sugarland Tx.
                                                     77479 UN IT 4208
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              Plaintiff/petitionerMAURICE SYM ONETTE,ProSe,pursuantto
        FederalRule ofCivilProcedure 65,m ove this H onorable Courtforthe

        entry ofaTemporaryRestraining Ordertoenjoin andrestrain allnam ed

        Defendant/Respondentsfrom evictingPetitioner'spropertyfrom
        subjectproperty,Petitionershom e,and asgroundsthereforewould
        state as follovvs:

                                          1.

              Plaintiff/petitionerhavefiled anaction to QuietTitletothe
        property located at 1977 ne 119th road,north m iam iflorida 33181.

        Hereinafter, this address and legal description as w ell as al1
        im provem entsthereon shallbe know n and referred to as Petitioners'




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        Property.Said actiontoQuietTitletoPetitionersproperty ispresently
        pending before this Court,
                                                 2.

               lntheirQuietTitleaction PetitionersallegethatnamedRespondents
        have no legalinterestin and to theirproperty and have no standing to
        forecloseorsellthesubjectproperty atajudicialpublicauction saleofthe
        property presently scheduled forthe firstTuesday in February,2014,being
        February 4,2014.The defendantsintend to transfertitleand evietplaintiffsfrom
        their hom e now .The Plaintiffsm ovesthe courtfor a Tem porarv R estraining fstavà
        O rder in thatthe sale and eviction ofPlaintiffs from pronertv w illcause irrenarable




        cloging ofthe sale ofthe housew ith no 30 day notiee to ug in violâtion ofFIâ.Stat.
        559.715 and accordin, to the M ortgage N ote page 11.See Exhibit C M ER S w a&
        A ssiened the Note O ct5tb2005 and assienm ent isV oid.Florida Stat.701.02
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                                             ltisw ithin this Court'sw ide
        discretion to grantarequestfora tem porary restraining orderand/ora
        preliminaryinjunction.SeeGrandRiverEnt.SlkNations,Ltd.v.Pryor,481
        F.3d 60(2dCir.2007).Generally,inordertowarrantacourt'sintervention
        in theform ofinjunctiverelief,ttltjheparty seekingtheinjunctionmust
        demonstrate(1)irreparableharm shouldtheinjunction notbegranted,and
        (2)either(a)alikelihood ofsuccessonthemerits,or(b)sufficiently serious
        questionsgoing to them eritsand a balanceofhardshipstipping decidedly
        towardthepartyseekinjinjunctiverelief.''Resolution TrustCorp.v.Elman,
        949F.2d624,626(2dClr.1991);JacksonDairy,Inc.v.H P.HoodttSons,
        Inc,596F.2d70,72 (2dCir.1979);Citibankv.Citytrust,756F.2d273 (2d
        Cir.1985);VirginEnterprises,Ltd.v.Nawab,335F.3d 141(2d Cir.2003).
                                           4.

              Plaintiff/petitionerw illsufferirreparableinjury,thelossofhis
        hometo an illegaljudicialsaleoftheirproperty unlesstheCourtgrants
        his Em ergency M otion for Tem porary Restraining Order.

        Defendants/Respondentsseekto illegally evictPlaintiff/petitioners
        property withoutany legaljustification in thatDefendants/Respondents
        haveandhad nolegalstandingto collectthesubjectnoteorforeclose
        thesubjectmortgage.
                                           5.

              Plaintiff/petitionerhasalikelihood ofsuccesson them eritsof

        theirQuietTitleComplaintin thatnamed Defendants/Respondents



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        havenolegalinterestin and tothesubjectproperty,whichfactshallbe

        establishedthrough Plaintiff/petitioner'sQuietTitleaction.
                                            6.

              Plaintiff/petitionerpresentssufficiently seriousquestionsgoing
        to the m erits oftheir claim w hich outw eigh and tip the balance of

        hardship in favorofPlaintiff/petitioner.
                                            7.

              Thegranting ofPetitionersTem porary Restraining Orderisin the

        publicinterestto preventRespondentsand othersfrom foreclosing on

        thehom esofownersby judicialprocesswithouthavingtherightto
        foreclose and sellthe property in violation ofthe law s ofthe State of

        FloridaandoftheUnited States.Plaintiff/petitionersisentitled to

        emergency expartetemporaryinjunctivereliefbyboth Florida state
        1aw and the law ofthe United States.

                                            8.

              A motionforem ergency temporarydeclaratoryand injunctive
        reliefis

        sought pursuantto the Florida Rules ofCivilProcedure and on an

        em ergency basis w ithoutnotice.

                                            9.

              Floridalaw providesthatequity,bywritofinjunction,may
                                            39
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        restrain any act ofa private individualor corporation w hich is illegalor

        contrary to equity and good conscience and forw hich no adequate

        rem edy isprovided atlaw ,

                                           10.

               Florida1aw providesthatw ritsofinjunction m ay beissued by
        courtsto enjoin salesand illegalevictionsby sheriffs,atanytim ebefore
        a


        saletakesplace,in any propercase madeby application forinjunction.



               Plaintiff/petitionerownsand occupiescertain realproperty inthe
        city

        ofPem broke Pines,Brow ard County,Florida.

                                           12.



               Plaintiff/petitionerhasno adequaterem edyatlaw toredressthe
        harm complained of,and thesaleofthePlaintiffs/petitioner'sproperty,
        underthe circum stances setforth herein,is contrary to equity and good

        conscience.

                                           13.

               Florida law providesthata tem porary restraining order m ay be

        granted w ithoutoralor w ritten notice to the adverse party ifitclearly

        appearsfrom the specificfactsshow n by verified com plaintthat
                                           40
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        imm ediateandirreparableinjury,loss,ordamagewillresulttothe
        applicantbefore the adverse party or his attorney can be heard in

        opposition,and thatthe applicantor their attorney certifies in w riting,

        the efforts,ifany,w hich have been m ade to give the notice and the

        reasons supporting the party's claim thatnotice should notbe required.

                                           14.

              The specific facts setforth in thisVerified M otion dem onstrate

        thatunlessatem porary injunctionagainsttheforeclosuresalesetfor

        February 19,2014 isgranted,thatPlaintiff/petitionerwillsufferthe
        irreparableinjury,lossand damageofthelossofhishom eand eviction
        therefrom ,and loss ofallofhis equity therein.

                                           15.

              Under the circum stances w here the foreclosure sale is set for less

        than five(5)calendardaysfrom thedate ofthefilingofthisVerified
        Motion,theirreparablelosstothePlaintiff/petitionerwillresultbefore
        theDefendants/Respondentsm ay beheard in oppositiontotherelief
        requested herein ifthe em ergency reliefrequested herein isnotgranted

        inAnxediately.




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                                            16.

               Certification issetforth follow ing the Verification ofthis M otion

        by Petitioners.



                Underthe circum stances ofthis case,w here there is no harm to

        Defendants/Respondentswiththegrantingoftherequested relief,no
        bond should be required as a prerequisite to the granting ofthe relief

        requested herein asthere are no costs orotherdam agesw hich could be

        contem plated on the partofDefendantw ith the granting ofthe

        requested relief.

                                             18.

                Petitioners requestthatany requirem entofa bond be w aived in

        thatPetitionersareunable to obtain orafford abond ofany kind or
        type.

                                             19.

                Courts have long recognized that ''ltlo satisfy the irreparable
        harm     requirem ent, plaintiffs m ust dem onstrate that absent a

        preliminary injunction they willsufferan injury thatis neitherremote
        norspeculative,butactualand im m inent''See Grand River,481 F.3d

        at66 (internalcitationsom itted).Petitionerseasilym eetthisstandard.
                                             20.

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              ThethreatenedlossofPlaintiff/petitioner'shomeconstitutes

        irreparableinjury.
              W HEREFORE,Petitionersrespectfully requestthatthishonorable

        Courtim mediatelytakejurisdiction ofthism atterand enteran Order
        grantingtem porary injunctivereliefexpressly precludingandcancelling
        the foreclosure Eviction presently not scheduled as yetforthe reasons

        setforth herein,and thatthe Courtgrantsuch other and further reliefas

        theCourtdeem sequitable,appropriateandjust.
              Respectfully subm itted this lô day of OCTOBER,2019.


                                           J ESBUCK ANJA
                                            1 77 N E 11 H RD
                                            M IA M IFLA .33181

                                            F

                                            SYMONETTE MAURICE
                                         4711 L JPARKW AY SUGARLAND TX.
                                                77479 UNIT 4208
                                                786-859-9421

                                    VERIFICATION

        Plaintiff/petitionerJamesBuckm anherebyverifies,underpenaltyof
        perjury,verifiesthathehasreadtheforegoingPetition forDeclaratory
        RelieftoQuietTitleand Motion forTem porary Restraining Orderand
         thatthe facts contained therein are true and correct.


                                                   m es Buck anM -
                                                1977 N E 11 thrd.
                                                M iam i,F1a.33181
